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 5
 6    ATTORNEY FOR Defendant,
      TIMOTHY PATRICK ORTIZ
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                 ******

11    UNITED STATES OF AMERICA,                            Case No.: 1:14-cr-00101-DAD-BAM-2
12                  Plaintiff,                             STIPULATION AND ORDER TO
13           v.                                            CONTINUE SENTENCING

14
                                                           Date: October 31, 2017
15    TIMOTHY ORTIZ,                                       Time: 10:00 a.m.
                                                           Courtroom: 5
16                  Defendant.                             Hon. David A. Drozd
17
18    TO:    THE HONORABLE COURT AND TO THE UNITED STATES ATTORNEY:
19           Defendant, TIMOTHY ORTIZ and through his attorney of record, Anthony P. Capozzi
20    and the United States Attorney by and through Karen Escobar, hereby stipulate as follows:
21           1.     By previous order, this matter was set for sentencing on October 30, 2017, at
22    10:00 a.m.
23           2.     The parties agree and stipulate that Defendant requests this court to continue the
24    sentencing until December 4, 2017, at 10:00 a.m.
25           3.     The parties agree and stipulate, and request that the Court find the following:
26                  a. The Defendant pled guilty on August 14, 2017.
27                  b. Parties need additional time to prepare and object to the Pre-Sentence
28           Investigation Report.



                                                         1
                                   STIPULATION AND ORDER TO CONTINUE SENTENCING
                                          CASE NO.: 1:14-CR-00101-2 DAD
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 1                   c. The Government does not object to this continuance.
 2            4.     Additionally, the parties also agree to amend the briefing schedule as follows:
 3    the final Pre-Sentence Investigation Report will be due on November 13, 2017, Formal
 4    Objections will be due on November 20, 2017, and any replies will be due on November 27,
 5    2017.
 6    IT IS SO STIPULATED.
 7
 8                                               Respectfully submitted,

 9    DATED:        October 11, 2017      By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
10                                            Attorney for Defendant TIMOTHY PATRICK
11                                            ORTIZ

12
13    DATED:        October 11, 2017      By: /s/Karen A. Escobar
                                              KAREN A. ESCOBAR
14                                            Assistant United States Attorney
15
16
17                                                 ORDER

18            For reasons set forth above, the continuance requested by the parties is granted for good

19    cause. The sentencing currently scheduled for October 30, 2017, at 10:00 a.m. is continued to

20    December 4, 2017, at 10:00 a.m., the final Pre-Sentence Investigation Report is due on

21    November 13, 2017, Formal Objections are due on November 20, 2017, and replies are due on

22    November 27, 2017.

23
      IT IS SO ORDERED.
24
25
         Dated:     October 11, 2017
                                                          UNITED STATES DISTRICT JUDGE
26
27
28



                                                         2
                                   STIPULATION AND ORDER TO CONTINUE SENTENCING
                                          CASE NO.: 1:14-CR-00101-2 DAD
